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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                         )
COMMITTEE ON WAYS AND                    )
MEANS, UNITED STATES HOUSE               )
 OF REPRESENTATIVES,                     )
                                         )
            Plaintiff,                   )
                                         )
                       v.                )
                                         ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                )
OF THE TREASURY, et al.                  )
                                         )
           Defendants,                   )
                                         )
DONALD J. TRUMP, et al.,                 )
                                         )
           Defendant-Intervenors.        )
                                         )

                                            NOTICE

       Defendants and Defendant-Intervenors respectfully notify the Court that they intend to

submit a response to Plaintiffs’ Supplemental Memorandum, see ECF No. 71. Absent contrary

direction from this Court, Defendants and Defendant-Intervenors will file their response not later

than Tuesday, November 19, 2019.

Dated: November 13, 2019                     Respectfully submitted,

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